                 Case 2:16-cv-01941-JCC Document 34 Filed 02/19/19 Page 1 of 5



                                                        THE HONORABLE JOHN C. COUGHENOUR  
 1                                                                                          
                                                                                              
                                                                                                
 2                                                                                                
                                                                                                    
                                                                                                      
 3                                                                                                      
                                                                                                          
                                                                                                            
 4                                                                                                            
                                                                                                                
                                                                                                                  
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 6                                                                                                                        
                                                                                                                            
                                                                                                                            
 7                                   UNITED STATES DISTRICT COURT 
                               FOR THE WESTERN DISTRICT OF WASHINGTON 
 8                                            AT SEATTLE  

 9   G.G., A.L., and B.S., individually and on behalf of all 
     others similarly situated,                                        
10
                              Plaintiffs, 
                                                                      NO. 2:16‐CV‐01941 JCC 
11           v. 
                                                                      PLAINTIFFS’ MOTION TO SEAL 
12   VALVE CORPORATION, a Washington corporation, 
                                                                      NOTE ON MOTION CALENDAR: 2/19/19 
13                            Defendant. 

14                               MOTION FOR LEAVE TO FILE UNDER SEAL 

15           Pursuant to Local Civil Rule 5(g), Plaintiffs hereby move to file under seal its Response to 
16
     Valve Corporation’s Motion to Lift Stay and Dismiss Case with Prejudice and certain confidential 
17
     documents and information subject to the protective order entered in this action (ECF 23). In 
18
     support of their motion, Plaintiffs state as follows: 
19
                     IDENTIFICATION OF DOCUMENTS AND BRIEFING TO BE SEALED 
20
             1.       Plaintiffs’ Response in Opposition to Defendant Valve Corporation’s Motion to Lift 
21
     Stay and Dismiss Case with Prejudice (“Plaintiffs’ Response”) and Exhibits A through E attached 
22
     thereto. 
23



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 1           2.       Exhibit A to Plaintiffs’ Response is the Award of Arbitrator in AAA‐01‐18‐0001‐7979 

 2   (B.S., et al. v. Valve Corp.). 

 3           3.       Exhibit B to Plaintiffs’ Response is the Award of Arbitrator in AAA‐01‐18‐0001‐7977 

 4   (G.G. v. Valve Corp.). 

 5           4.       Exhibit C to Plaintiffs’ Response is the Transcript of 11/29/2018 Arbitration AAA 01‐
 6
     18‐0001‐7979 (B.S., et al. v. Valve Corp.); 
 7
             5.       Exhibit D to Plaintiffs’ Response are Exhibits to Transcript of 11/29/2018 Arbitration 
 8
     AAA 01‐18‐0001‐7979 (B.S., et al. v. Valve Corp.) 
 9
             3.       Exhibit E to Plaintiffs’ Response is the Transcript of 12/13/2018 Arbitration AAA 01‐
10
     18‐0001‐7977 (G.G., et al. v. Valve Corp.); 
11
             4.       Exhibit F to Plaintiffs’ Response are the Exhibits to Transcript of 12/13/2018 
12
     Arbitration AAA 01‐18‐0001‐7977 (G.G., et al. v. Valve Corp.); 
13

14           5.       Exhibit G to Plaintiffs’ Response are the arbitration pleadings in AAA 01‐18‐0001‐

15   7979 (B.S., et al. v. Valve Corp.) and AAA 01‐18‐0001‐7977 (G.G., et al. v. Valve Corp.). 

16                                      WHY SEALING IS NECESSARY 

17           The parties have entered a stipulated protective order governing the exchange in discovery of 

18   documents deemed confidential (ECF#23). Plaintiffs seek to file the “Confidential” documents 
19
     described above in support of their Response in Opposition to Defendant Valve Corporation’s Motion 
20
     to Lift Stay and Dismiss Case with Prejudice. Further, Plaintiffs quote from these Confidential 
21
     documents in their written Response and. Therefore, filing both the Response and identified exhibits 
22
     under seal is necessary to abide by the Protective Order.  No alternatives are adequate because the 
23



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 1   information, descriptions of information, or documents, are needed to adequately convey Plaintiff’s 

 2   argument, and filing this information publicly would violate this Court’s order.  Because Defendant 

 3   Valve Corporation designated the documents confidential, and does not stipulate to this Motion, it 

 4   must satisfy Local Civil Rule 5(g)(3)(B) in its response to this motion. 

 5                             LOCAL CIVIL RULE 5(g)(3)(A) CERTIFICATION 
 6
             Plaintiffs hereby certify that they have met and conferred with all other parties in an attempt 
 7
     to reach agreement on the need to file the documents under seal, to minimize the amount of material 
 8
     filed under seal, and to explore redaction and other alternatives to filing under seal.  Specifically, 
 9
     Jasper D. Ward IV, counsel for Plaintiffs, conferred via email and telephonically with Gavin Skok, 
10
     counsel for Defendant Valve Corporation, on February 11, 2019 in advance of this filing. 
11
                                       DURATION OF TIME REQUESTED 
12
             Plaintiffs request that the briefing and documents they seek to file under seal remain sealed 
13

14   unless and until they become publicly‐available or de‐designated as “Confidential” under the existing 

15   Protective Order or by any Order of this Court. 

16           WHEREFORE, Plaintiffs request that this Court GRANT their Motion to File Under Seal and 

17   enter the attached tendered Proposed Order 

18           Respectfully submitted this 19th day of February, 2019. 
19
                                               TOUSLEY BRAIN STEPHENS PLLC 
20
                                               By:  s/ Jason T. Dennett                                                      
21                                                 Jason T. Dennett, WSBA #30686 
                                                   1700 Seventh Avenue, Suite 2200 
22                                                 Seattle, Washington  98101 
                                                   Telephone:  206.682.5600 
23                                                 Fax: 206.682.2992 
                                                   Email:       jdennett@tousley.com 


                                                                                    TOUSLEY BRAIN STEPHENS PLLC 
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 1                                          Jasper D. Ward IV (admitted pro hac vice) 
                                            JONES WARD PLC 
 2                                          1205 E. Washington St., Suite 111 
                                            Louisville, KY  40206 
 3                                          Telephone:  502.882.6000 
                                            Fax:  502.587‐2007 
                                            Email:       jasper@jonesward.com 
 4                                           
 5                                          Attorneys for Plaintiffs 

 6                                

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                                                                          TOUSLEY BRAIN STEPHENS PLLC 
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 1                                          CERTIFICATE OF SERVICE 

 2             I hereby certify that on February 19, 2019, I electronically filed the foregoing with the Clerk of 

 3   the Court using the CM/ECF system which will send notification of such filing to all parties 

 4   registered on the CM/ECF system.  All other parties (if any) shall be served in accordance with the 

 5   Federal Rules of Civil Procedure.  
 6
               DATED at Seattle, Washington, this 19th day of February, 2019. 
 7
                                                        s/Jason T. Dennett                                                    
 8                                                      Jason T. Dennett 
     6225/001/532836.1 

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